Case 5:18-cv-00555-XR Document 266-3 Filed 09/04/20 Page 1 of 19

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OME No 1140-0020

U.S. Department of Justice

Bureau of Alcohol, Tobacco, Firearms and Explosives

Firearms Transaction Record Part I -
Over-the-Counter

WARNING: You may not receive a firearm if prohibited by Federal or State law. The information you provide will
be used to determine whether you are prohibited under law from receiving a firearm. Certain violations of the Gun
Control Act, 18 U.S.C. §§ 921 ef. seq., are punishable by up to 10 years imprisonment and/or up to a $250,000 fine,

Pre
this

 

1.

Last Name First Name

Transferor's Transaction
Serial Number (ffany)

pare in original only. All entries must be handwritten in ink, Read the Notices, Instructions, and Definitions on A i 4-( Uy
Le a he ‘

form. “PLEASE PRINT.”

 

Section A- Must Be Completed Personally By Transferee (Buyer)

 

Transferee’s Full Name _ ~

—,

Kallg VA L ) WAN | Fochs cK

7

Current Residence Address (U.S. Postal abbreviations are acceptable. Cannot be a post office box.)

Number and Street Address City : County State | ZIP Code

2023 wWieolarada Sue_|Colomdo perl nas 2\Oose |co ake

r

 

Middle Name (/fno middle name, state “NMN")

 

sy
a

U.S, City and State -OR-

Oe

Place of Birth 4. Height | 5, Weight |6. Gender 7. Birth Date
Foreign Country Ft. b } (Lbs.) N] Male Month

In. ic an OO5 [__] Female Oo:

Day

\o.

 

 

 

 

 

 

an N\accaS TY

Year

SA

 

 

 

8. Social Security Number (Optional, but will help prevent misidentification) |9. Unique Personal Identification Number (UPN) if applicable (See
/nstructions for Question 9.)

10.a. Ethnicity 10.b. Race (Check one or more boxes.)

[| Hispanic or Latino [| American Indian or Alaska Native [| Black or African American Jan

Not Hispanic or Latino [| Asian [| Native Hawaiian or Other Pacific Islander

 

 

Il,

Answer questions 11.a. (see exceptions) through 11.1. and 12 (if applicable) by checking or marking “yes” or “no” in the boxes to the right of the questions,

 

a.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Are you the actual transferee/buyer of the firearm(s) listed on this form? Warning: You are not the actual buyer if you are Yes’ | No
acquiring the firearm(s) on behalf of another person. If you are not the actual buyer, the dealer cannot transfer the firearm(s) EC]
to you. (See Instructions for Question 11.a.) Exception: If you are picking up a repaired firearm(s) for another person, you are not
required to answer J 1l.a. and may proceed to question 11.6.
b. Are you under indictment or information in any court for a felony, or any other crime, for which the judge could imprison you for Yes | N
more than one year? (See Instructions for Question 11.b.) |
c. Have you ever been convicted in any court of a felony, or any other crime, for which the judge could have imprisoned you for more | Yes | No/
than one year, even if you received a shorter sentence including probation? (See Instructions for Question I] 1c.) |
d. Are you a fugitive from justice? a Re
e. Are you an unlawful user of, or addicted to, marijuana or any depressant, stimulant, narcotic drug, or any other controlled substance? G ng
f. Have you ever been adjudicated mentally defective (which includes a determination by a court, board, commission, or other lawful /
authority that you are a danger to yourself or to others or are incompetent to manage your own affairs) OR have you ever been Yes M
committed to a mental institution? (See Jnstructions for Question 11.f}
: . ae /
g. Have you been discharged from the Armed Forces under dishonorable conditions? a
h. Are you subject to a court order restraining you from harassing, stalking, or threatening your child or an intimate partner or child of | Yes Re
such partner? (See Instructions for Question 11h.) LC]
i. Have you ever been convicted in any court of a misdemeanor crime of domestic violence? (See Instructions for Question 11.i.) iG Mw
‘ ; ; . es oe Yes | No
j. Have you ever renounced your United States citizenship? Cc
k. Are wowanaliens fan apethins 4 Yes | N
. Are you an alien illegally in the United States? C
l. Are you an alien admitted to the United States under a nonimmigrant visa? (See Instructions for Question [1.1) Ifyou answered Yes | No,
“ne” to this question, do NOT respond to question 12 and proceed to question 13. C] WW
12. If you are an alien admitted to the United States under a nonimmigrant visa, do you fall within any of the exceptions set forth in the Yes | No
instructions? (If “yes,” the licensee must complete question 20c.) (See fnstructions for Question 12.) If question 11.L is answered Olo
with a “no” response, then do NOT respond to question 12 and proceed to question 13.
13, What is your State of residence | 14, What is your country of citizenship? (List/check more than 15, 1f you are not a citizen of the United States,
(ifany)? (See Instructions for one, ifapplicable. Ifyou are a fitizen of the United States, what is your U.S.-issued alien number or
nee a psp . . 3 i eer >
Question ee procens to question 16.) United Stites of America admission number?
CClOCaAVO L] Other (Specify)
Note: Previous Editions Are Obsolete Transferee (opesContagryto Next Page ATF Form 4473 (5300.9) Part |

Page | of 6 STAPLE IF PAGES BECOME SEPARATED Revised Apnil 2012
CASE 8:18:6V-00888-XR BSELMEHt 256-20 PREPEE2170 BAG Pb ts

 

Leertify that my answers to Section A are true, correct, and complete. [have read and understand the Notices, Instructions, and Definitions
on ATF Form 4473. Tunderstand that answering “yes” to question I1.a. if | am not the actual buyer is a crime punishable as a felony under
Federal law, and may also violate State and/or local law. | understand that a person who answers “yes” to any of the questions 11.b. through
11.k. is prohibited from purchasing or receiving a firearm. I understand that a person who answers “yes” to question 11.1. is prohibited from
purchasing or receiving a firearm, unless the person also answers “Yes” to question 12. | also understand that making any false oral or
written statement, or exhibiting any false or misrepresented identification with respect to this transaction, is a crime punishable as a felony
under Federal law, and may also violate State and/or local law. I further understand that the repetitive purchase of firearms for the purpose
of resale for livelihood and profit without a Federal firearms license is a violation of law (See Justructions for Question 16).

 

 

 

 

 

 

 

 

16. tee ee / Z 17. Certification Date
L/| | Vv \ ILS cae Lado
: . 2 - — :
f Section B - Must Be Completed By Transferor (Seller)
18. Type of firearm(s) to be transferred (check or mark all that apply): 19. If sale at a gun show or other qualifying event.
Pe Handles [| Long Gun [| Other Firearm (Frame, Receiver, etc.) Name of Event DA
(rifles or See instructions for Question 18.)
shotguns) City, State
20a. Identification (e.g., Virginia Driver's license (VA DL) or other valid government-issued phato identification.) (See Instructions for Question 20.a.)
Issuing Authority and Type of Identification Number on Identification Expiration Date of Identification (if any)
Month | Day Year

Colorade One Lil ense. (Y-Al4-OwotS O2! 12 |A@aA

20b. Alternate Documentation (if driver's license or other identification document does not show current residence address) (See Instructions for

Question 20.6
Question ) N/A

20c. Aliens Admitted to the United States Under a Nonimmigrant Visa Must Provide: Type of documentation showing an exception to the nonimmi-
grant visa prohibition. (See Instructions for Question 20.c.)

Questions 21, 22, or 23 Must Be Completed Prior To The Transfer Of The Firearm(s) (See [nstructions for Questions 2], 22 and 23.)

 

 

 

 

21a, Date the transferee’s identifying information in Section A was transmit-| 21b. The NICS or State transaction number (if provided) was:
ted to NICS or the appropriate State agency: (Month/Day/Year)
Month Day Year
. to = ‘e ;
2lc. The response initially provided by NICS or the appropriate State 21d. If initial NICS or State response was “Delayed,” the following
agency was: response was teceived from NICS or the appropriate State agency:
ESq Proceed [] Delayed [| Proceed _ fdatite)
[ ] Denied [The firearm(s) may be transferred on [) Denied (date) | LA
[_] Cansdiled — (Missing Disposition —
; Information date provided by NICS) if State law (_J Cancelled (date)
permits (optional)] ] No resolution was provided within 3 business days.
2le. (Complete ifapplicable.) After the firearm was transferred, the following response was received from NICS or the appropriate State agency on:
/ (date). [] Proceed [_] Denied [| Cancelled

 

21f. The name and Brady identification number of the NICS examiner (Optional)

“Evie moat

(name) (muanber)

 

22. [ ] No NICS check was required because the transfer involyed only National Firearms Act firearm(s). (See Instructions for Question 22.)
NY
23. [ | No NICS check was required because the buyer has a valid permit from the State where the transfer is to take place, which qualifies as an
exemption to NICS (See Jnstructions for Question 23.)
Date of Issuance (ifany) Expiration Date (if any) | Permit Number (if any)

LA DIA | VA

Section C - Must Be Completed Personally By Transferee (Buyer)

Issuing State and Permit Type
KS}

 

 

 

if the transfer of the firearm(s) takes place on a different day from the date that the transferee (buyer) signed Section A, the transferee must complete
Section C immediately prior to the transfer of the firearm(s), (See instructions for Question 24 and 25.)
I certify that my answers to the questions in Section A of this form are still true, correct and complete.

 

24. Transferee’s/Buyer’s Signature 25. Recertification Date

 

Wai hx
Transferor (Seller) Continue to Next Page
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Page 2 of 6 Revised Apnil 2012

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Section D - Must Be Completed By Transferor (Seller)

 

26 | of |
Manufacturer and/or Importer (/f the Model

 

28. 29, 30.
Serial Number Type (pistol, revolver, rifle Caliber or

 

 

 

manufacturer and wmporter are different, | shotgun, receiver, frame Gauge
the FFL should include both.) | etc.) (See instructions for
question 29)
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mt iy & fi\e \ < + 4
I) lOO _ ee | i ae (fe s I i M Votes) l Mm My

 

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30a, Total Number of Firearms (Please handwrite by printing e.g.. one, two, three, etc. Do not use numerals.)

f
OL

30c. For Use by FFL (See fnstructions for Question 30e)

Th

30b, Is any part of this transaction a

Pawn Redemption? CI Ves x No

 

Nore

Complete ATF Form 3310.4 For Multiple Purchases of Handguns Within 5 Consecutive Business Days

 

31. Trade/corporate name and address of transferor (seller) (Hand stamp may be

used, S ;
’ K&l. Marksting Group Inc.
SPECIALTY SPORTS & SUPPLY

4285 E. FOUNTAIN BLVD.
COLORADO SPRINGS. EL Pasa ca 20916-4004

32. Federal Firearms License Number (Must contain at least first
three and last five digits of FFL Number X-XX-XXXXX_)
(Hand stamp may be used}

5-84-041-01-5J-00170

 

The Person Transferring The Firearm(s) Must Complete Questions 33-36. For Denied/Cancelled Transactions,
The Person Who Completed Section B Must Complete Questions 33-35.

 

I certify that my answers in Sections B and D are true, correct, and complete. I have read and understand the Notices, Instructions, and Definitions
on ATF Form 4473. On the basis of: (1) the statements in Section A (and Section C if the transfer does not occur on the day Section A was com-
pleted); (2) my verification of the identification noted in question 20a (and my reverification at the time of transfer if the transfer does not occur on the
day Section A was completed); and (3) the information in the current State Laws and Published Ordinances, it is my belief that it is not unlawful for
me to sell, deliver, transport, or otherwise dispose of the firearm(s) listed on this form to the person identified in Section A.

 

33. Transferor’s/Seller’s Name (Please print)|34. Transferor's/Seller's Signatur

 

(Moan Basmage| A By? 2

35. Transferor’s/Seller’s Title

Sahoy

36. Date Transferred

2aPecholy

 

 

 

NOTICES, INSTRUCTIO¥S AND DEFINITIONS =~

Purpose of the Form: The information and certification on this form are
designed so that a person licensed under 18 U.S.C. § 923 may determine if he
or she may lawfully sell or deliver a firearm to the person identified in
Section A, and to alert the buyer of certain restrictions on the receipt and
possession of firearms. This form should only be used for sales or transfers
where the seller is licensed under 18 U.S.C. § 923. The seller of a firearm
must determine the lawfulness of the transaction and maintain proper records
of the transaction. Consequently, the seller must be familiar with the
provisions of 18 U.S.C. §§ 921-931 and the regulations in 27 CFR Part 478.
In determining the Jawfulness of the sale or delivery of a long gun (rifle or
shotgun) to a resident of another State, the seller is presumed to know the
applicable State laws and published ordinances in both the seller's State and
the buyer’s State.

After the seller has completed the firearms transaction, he or she must make
the completed, original ATF Form 4473 (which includes the Notices, General
Instructions, and Definitions), and any supporting documents, part of his or
her permanent records. Such Forms 4473 must be retained for at least 20
years. Filing may be chronological (hy date), alphabetical (by name), or
numenical (dy transaction serial number), as long as all of the seller's
completed Forms 4473 are filed in the same manner. FORMS 4473 FOR
DENIED/CANCELLED TRANSFERS MUST BE RETAINED: If the transfer
ofa firearm is denied/cancelled by NICS, or if for any other reason the
transfer is not complete after a NICS check is initiated, the licensee must
retain the ATF Form 4473 in his or her records for at least 5 years. Forms
4473 with respect to which a sale, delivery, or transfer did not take place shall
be separately retained in alphabetical (hy name) or chronological (by date of

transferee 's certification) order

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Page 3 of 6

~ “Tf you or the buyer discover that an ATF Form 4473 is incomplete or improperly

completed after the firearm has been transferred, and you or the buyer wish to
make a record of your discovery, then photocopy the inaccurate form and make
any necessary additions or revisions to the photocopy. You only should make
changes to Sections B and D. The buyer should only make changes to Sections A
and C. Whoever made the changes should initial and date the changes. The
corrected photocopy should be attached to the original Form 4473 and retained as
part of your permanent records,

Over-the-Counter Transaction: The sale or other disposition of a firearm by a
seller to a buyer, at the seller's licensed premises. This includes the sale or other
disposition ofa rifle or shotgun to a nonresident buyer on such premises.

State Laws and Published Ordinances: The publication (ATF P 5300.5) of
State firearms Jaws and local ordinances ATF distributes to licensees.

Exportation of Firearms: The State or Commerce Departments may require you
to obtain a license prior to export.

Section A

Question 1. Transferee’s Full Name: The buyer must personally complete
Section A of this form and certify (sign) that the answers are true, correct, and
complete. However, if the buyer is unable to read and/or write, the answers
fother than the signature) may be completed by another person, excluding the
seller. Two persons fother than the seller) must then sign as witnesses to the
buyer's answers and signature.

When the buyer of a firearm 1s a corporation, company, association, partnership,
or other such business entity, an officer authorized to act on behalf of the

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Revised Ann] 2012
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U.S. Department of Justice . . :
Bureau of Alcohol, Tobacco, Firearms and Explosives Firearms Transaction Record Part I -

™ Over-the-Counter

OMB No. 1140-0020

 

 

WARNING: You may not receive a firearm if prohibited by Federal or State law. The information you provide will | Transferor's Transaction
be used to determine whether you are prohibited under law from receiving a firearm. Certain violations of the Gun — | Serial Number (if any)
Control Act, 18 U.S.C. §§ 921 ef. seqg., are punishable by up to 10 years imprisonment and/or up to a $250,000 fine.

Prepare in original only. All entries must be handwritten in ink. Read the Notices, Instructions, and Definitions on LA g (uy
if E
J

 

this form, “PLEASE PRINT.”
Section A - Must Be Completed Personally By Transferee (Buyer)

 

1. Transferee’s Full Name
Last Name First Name Middle Name (/fno middle name, state “NMN"')

Zo\ LOX, \) Oi 1) Wat mck

2. Current Residence Address (U.S. Postal abbreviations are acceptable. Cannot be a post office box.)

 

 

 

Number and Street Address City County State | ZIP Code

— ? ; \ LO ; 0 5“ CL wt
Widh Laow lang Colorado DOr! nus {el Paso CO |Kolly
3. Place of Birth 2 4. Height [5. Weight [6J@ender | 7. Birth Date
U.S. City and State -OR-_ | Foreign Country Ft. 2 (Lbs.) Male Month Day Year

 

 

 

 

 

 

 

San Macca TX m+ | DOG {Orme [on |lQ Hs

 

8. Social Security Number (Optional, bit will help prevent misidentification} |9. Unique Personal Identification Number (UP/N) if applicable (See

 

 

 

 

 

Al j—juyer 7 Instructions for Question 9.)
VO Ab LY

10.a. Ethnicity 10.b. Race (Check one or more boxes.)
(| Hispanic or Latino | American Indian or Alaska Native C] Black or African American wn
[Mf Not Hispanic or Latino {| Asian [| Native Hawaiian or Other Pacific Islander
11. Answer questions I 1.a. (see exceptions) through 11.1. and 12 (ifapplicable) by checking or marking “yes” er “ne” in the boxes to the right of the questions.
a. Are you the actual transferee/buyer of the firearm(s) listed on this form? Warning: You are not the actual buyer if you are Yes} No

acquiring the firearm(s) on behalf of another person. If you are not the actual] buyer, the dealer cannot transfer the firearm(s)} val |

to you. (See /nstructions for Question I1.a.} Exception: If you are picking up a repaired firearm(s) for another person, you are not
required to answer 1J.a. and may proceed to question 11.6.

 

 

 

 

 

b. Are you under indictment or information in any court for a felony, or any other crime, for which the judge could imprison you for Yes | No’
more than one year? (See Instructions for Question 11.b.) El | MW
c. Have you ever been convicted in any court of a felony, or any other crime, for which the judge could have imprisoned you for more | Yes ig
than one year, even if you received a shorter sentence including probation? (See dnstructions for Question 11.c.) CO
d. Are you a fugitive from justice? 4 a
e. Are you an unlawful user of, or addicted to, marijuana or any depressant, stimulant, narcotic drug, or any other controlled substance? a i
f. Have you ever been adjudicated mentally defective (which includes a determination by a court, board, commission, or other lawful
authority that you are a danger to yourself or to others or are incompetent to manage your own affairs} OR have you ever been a N

committed to a mental institution? (See Jnstructions for Question 11.)

 

 

 

 

 

 

 

g. Have you been discharged from the Armed Forces under dishonorable conditions? a

h. Are you subject to a court order restraining you from harassing, stalking, or threatening your child or an intimate partner or child of | Yes | N
such partner? (See Instructions for Question 11.4.) |

i. Have you ever been convicted in any court of a misdemeanor crime of domestic violence? (See instructions for Question 11.i.) a =

j. Have you ever renounced your United States citizenship? a Ny

k. Are you an alien illegally in the United States? a ne

i

l. Are you an alien admitted to the United States under a nonimmigrant visa? (See [nstructions for Question I1.1.) Ifyou answered Yes | N
“no” to this question, do NOT respond to question 12 and proceed to question 13. Ly]

12. If you are an alien admitted to the United States under a nonimmigrant visa, do you fall within any of the exceptions set forth in the Yes | No
instructions? (If “yes,” the licensee must complete question 20c.) (See Instructions for Question 12.) If question 11.1. is answered fio

with a “no" response, then da NOT respond to question 12 and proceed to question 13.

 

 

 

 

13. What is your State of residence | 14. What is your country of citizenship? (List/check more than |14. If you are nota citizen of the United States,
fifany)? (See Instructions for one, if applicable. Ifyou are a ditizen of the United States, what is your U.S.-issued alien number or
Question 13.) 9 proceed to question 16.) GA United States of America admission number?

Col\erado [_] Other (Specifi)

 

 

 

 

Note: Previous Editions Are Obsolete Transferee Neessielicamuce ge Next Page ATF Form 4473 ($300.9) Pant
Pave | of 6 STAPLE IF PAGES BE “fi SEPARATED Revised April 2012
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I certify that my answers to Section A are true, correct, and complete. J have read and understand the Notices, Instructions, and Definitions
on ATF Form 4473. I understand that answering “yes” to question 11.a. if I am not the actual buyer is a crime punishable as a felony under
Federal law, and may also violate State and/or local law. I understand that a person who answers “yes” to any of the questions J1.b. through
11.k. is prohibited from purchasing or receiving a firearm. I understand that a person who answers “yes” to question 11.1. is prohibited from
purchasing or receiving a firearm, unless the person also answers “Yes” to question 12. I also understand that making any false oral or
written statement, or exhibiting any false or misrepresented identification with respect to this transaction, is a crime punishable as a felony
under Federal law, and may also violate State and/or local law. I further understand that the repetitive purchase of firearms for the purpose
of resale for livelihood and profit without a Federal firearms license is a violation of law (See Instructions for Question 16).

{6. ‘meee uyer’s Signature Ey Pa JLB. 2 17. Certification Date
JA \\\ . Ay a7 4,

\n “3 \. =| =
Séction B - oo Be Completed By Transferor (Seller)
18. Type of firearm(s) to be transferred (check or mark all that apply): 19. If sale at a gun show or other qualifying event.

 

 

fAHandgun Long Gun Other Firearm (Frame, Receiver, etc.| ame of Event A
(rifles or See Instructions for Question 18.)
shotguns) City, State

 

 

 

20a. Identification (e.g., Virginia Driver's license (VA DL) or other valid government-issued photo identification.) (See Instructions for Question 20.a.)
Issuing Authority and Type of Identification Number on Identification Expiration Date of Identification (if'any)

Month Day Year
olotade doure een 14-34-0643

 

O2,| 12 |AQA
20b,

Alternate Documentation (if driver's license or other identification document does not show current residence address) (See Instructions for

Question 20.5.) AK

Aliens Admitted to the United States Under a Nonimmigrant Visa Must Provide: ‘Type of documentation showing an exception to the nonimmi-
grant visa prohibition. (See Instructions for Question 20.c.) AA

Questions 21, 22, or 23 Must Be Completed Prior To The Transfer Of The Firearm(s) (See Instructions for Questions 21, 22 and 23.)
Date the transferee’s identifying information in Section A was transmit-| 21b. The NICS or State transaction number (if provided) was:

ted to NICS or the appropriate State agency: (Month/Day/Year)
2YOY HL RIADSISW255

20c.

21a.

Day

Month Year
b | 26 [ADS

 

 

21c. The response initially provided by NICS or the appropriate State 2d. If initial NICS or State response was “Delayed,” the following
agency was: Tesponse was received from NICS or the appropriate State agency:
Proceed Delayed [| Proceed fh (date)
Denied [The firearm(s) may be transferred on | Denied (date)
[| Cancelled (Missing Disposition NS

[ ] Cancelled (date)

Information date provided hy NICS) if State law
[_] No resolution was provided within 3 business days.

permits (optional)}

 

 

 

2le. (Complete if applicable.) After the firearm was transferred, the following response was received from NICS or the appropriate State agency on:
A Ae (date). [ ] Proceed [| Denied [| Cancelled
21f. The name and Brady identification

numiber of the NICS examiner (Optional)
c a

Le

23.

Issuing State and Permit Type

(name)

(number)

[| No NICS check was a because the transfer involved only National Firearms Act firearm(s). (See Instructions for Question 22.)

y

No NICS check was required because the buyer has a valid permit from the State where the transfer is to take place, which qualifies as an

exemption to NICS (See Instructions for Question 23.)
Date of Issuance (if any)

ft

 

 

Permit Nuyibar (if'any)

Expiration

LU

te (ifany)

 

Section C - Must Be Completed Personally By Transferee (Buyer)

If the transfer of the firearm(s) takes place on a different day from the date that the transferee (buyer) signed Section A, the transferee must complete
Section C immediately prior to the transfer of the firearm(s). (See Instructions for Question 24 and 25.}

1 certify that my answers to the questions in Section A of this form are still true, correct and complete.

24. Transferee’s/Buyer’s Signature

Page 2 of 6

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25. Recertification Date

(Us

 

Transferor (Seller) Continue to Next Page
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Section D - Must Be Completed By Transferor (Seller)

 

26 | 27. |
Manufacturer and/or Importer f/f the Model
manufacturer and importer are different, |

the FFL should include both.)

 

28. 29. 30

Serial Number Type (pistol, revolver, rifle,
shotgun, receiver, frame,
etc.) (See instructions for
question 29}

Caliber or
Gauge

 

 

_ ky, se LGP [OO

Pevolaee

 

SE FL ney
/

 

 

 

 

 

 

 

 

3a Totat Number of Firearms (Please handwrite by printing ee

OM

30c. For Use by FFL (See Instructions for Question 30c.)

OC,

fee, three, ern

Do not use numerals.) |30b. Is any part of this transaction 9

[Pawn Redemption? Cl veo EKG
Mone.

Complete ATF Form 3310.4 For Multiple Purchases of Handguns Within 5 Consecutive Business Days

 

eS)
of wansfero

31. Trade/corpor. ea
ued) K&L ‘Marketing Group Inc.

SPECIALTY de & SUPPLY

4285 E. FOUNTAIN BLVD.
COLORADO SPRINGS, EL PASO CO 80916-1901

seller) 5 In Stamp may be

32. Federal Firearms License Number (Must contain at least first
three and last five digits of FFL Number X-XX-XXXXX.)
(Hand stamp may be used.)

5-84-041-01-5J-00170

 

 

The Person Transferring The Firearm(s) Must Complete Questions 33-36. For Denied/Cancelled Transactions,
The Person Who Completed Section B Must Complete Questions 33-35.
I certify that my answers in Sections B and D are true, correct, and complete. I have read and understand the Notices, Instructions, and Definitions
on ATF Form 4473. On the basis of: (1) the statements in Section A (and Section C if the transfer does not occur on the day Section A was com-
pleted); (2) my verification of the identification noted in question 20a (and my reverification at the time of transfer if the transfer does not occur on the
day Section A was completed); and (3) the information in the current State Laws and Published Ordinances, it is my belief that it is not unlawful for
me to sell, deliver, transport, or otherwise dispose of the firearm(s) listed on this form to the person identified it in Section A.

 

33, Transferor’s/Seller’s,Name (Please print) | T

 

eror’siSeller's Sig

  

35. Tyansfero 8 ] a 36. Date Transferred

pal)

 

 

 

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TICES, INSTRUCTIONS AND MILI

Purpose of the Form: The information and certification on this form are
designed so that a person licensed under 18 U.S.C. § 923 may determine if he
or she may lawfully sell or deliver a firearm to the person identified in
Section A, and to alert the buyer of certain restrictions on the receipt and
possession of firearms. This form should only be used for sales or transfers
where the seller is licensed under 18 U.S.C. § 923. The seller of a firearm
must determine the lawfulness of the transaction and maintain proper records
of the transaction, Consequently, the seller must be familiar with the
provisions of 18 U.S.C. §§ 921-931 and the regulations in 27 CFR Part 478.
In determining the lawfulness of the sale or delivery of a long gun (rifle or
shotgun) to a resident of another State, the seller is presumed to know the
applicable State laws and published ordinances in both the seller’s State and
the buyer’s State

Afier the seller has completed the firearms transaction, he or she must make
the completed, original ATF Form 4473 (which includes the Notices, General
Instructions, and Definitions), and any supporting documents, part of his or
her permanent records. Such Forms 4473 must be retained for at least 20
years. Filing may be chronological fby date), alphabetical fby name), or
numerical (by transaction serial number), as long as all of the seller's
completed Forms 4473 are filed in the same manner. FORMS 4473 FOR
DENIED/CANCELLED TRANSFERS MUST BE RETAINED: If the transfer
ofa firearm is denied/cancelled by NICS, or if for any other reason the
transfer is not complete after a NICS check 1s initiated, the licensee must
retain the ATF Form 4473 in his or her records for at least 5 years. Forms
4473 with respect to which a sale, delivery, or transfer did not take place shall
be separately retained in alphabetical (hy name) or chronological (Ay date of
transferee 's certification) order

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Page 3 of 6

If you or the buyer wd that ar mS orm an is incomplete ar improperly
completed after the firearm has been transferred, and you or the buyer wish to
make a record of your discovery, then photocopy the inaccurate form and make
any necessary additions or revisions to the photocopy. You only should make
changes to Sections B and D. The buyer should only make changes to Sections A
and C. Whoever made the changes should initial and date the changes. The
corrected photocopy should be attached to the original Form 4473 and retained as
part of your permanent records.

Over-the-Counter Transaction: The sale or other disposition of a firearm by a
seller to a buyer, at the seller's licensed premises. This includes the sale or other
disposition ofa rifle or shotgun to a nonresident buyer on such premises.

State Laws and Published Ordinances: The publication (ATF P 5300.5) of
State firearms laws and local ordinances ATF distributes to licensees

Exportation of Firearms: The State or Commerce Departments may require you
to obtain a license prior to export.

Section A

Question 1. Transferee’s Full Name: The buyer must personally complete
Section A of this form and certify (sign) that the answers are true, correct, and
complete. However, if the buyer is unable to read and/or write, the answers
(other than the signature) may be completed by another person, exciuding the
seller. Two persons (other than the seller) must then sign as witnesses to the
buyer's answers and signature.

When the buyer of a firearm is a corporation, company, association, partnership,
or other such business entity, an officer authorized to act on behalf of the

006391 ATF Form 4473 (3300.9) Part |

Revised Apnl 2012
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U.S. Departmenc of Justice : .
Bureau of Alcohol, Tobacco, Firearms and Explosives Firearms Transaction Record Part I -

Over-the-Counter

OMB No. 1140-(K126

 

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WARNING: You may not receive a firearm if prohibited by Federal or State law. The information you provide will | Trensferor’s Transaction
be used to determine whether you are prohibited under law from receiving a firearm, Certain violations of the Gun | Serial Number (if any)
Control Act, 18 U.S.C. §§ 921 et. seg., are punishable by up to 10 years imprisonment and/or up to a $250,000 fine.

Prepare in original only. All entrics muyt be handwritten in ink. Read the Notices, Instructions, and Definitions on
this form, “PLEASE PRIN'L.”

 

Section A - Must be Completed Personally By Yransteree (Buyer)

1, Transferee’s Full Name
Last Name First Name (Middle Name (2'n0 middle name, state “NiMN")

Kelley Dew bere Fe

2. Current Residence Address (U.S, Postal abbreviations are acceptable, Cannot be a post office box.)

 

 

 

 

 

 

 

 

Number and Street Address A rf I City County State | ZIP Code
3023 w.celerada Ave Colurade Springs falfmsa ko [¢6%oy
3. Place of Birth 4. Height |5. Weight 16. Gender 17. Birth Date
U.S. City and State -OR- | Foreign Country F:. a) fLbs.) Male Month Day Year —
Aa Marco's ay ind | 3355 [Eo] Femte OB La 4

 

 

 

8. Social Security Number (Optional, but will helo prevent misidentification) | 9, Unique Personal Identification Number (LUPIN) if applicable (See

 

 

 

 

 

 

i a . ym instructions for Question 8.)
ya -BLi-G HSH
10.a, Ethnicity 10.b. Race (Check one ar more boxes.)
[_} Hispanic or Latino { _] American Indian ar Alaska Native C] Black oc Aitican American white
IM? Not Hispanic or Latina (j Asian (| Native Hawaiian or Other Pacific Iylander
11, Answer questions 1 1.a. (see exceprions) though | 1.1, and 12 fifapplicahie) by checking or marcing “yey” or “ne” in the boxes ta the right of the questions.
a. Arc you the actual ransferee/buyer of the fircarm(s) listed on this form? Warning: You are not the actual buyer if you are Yes’

Lit

acquiring the firearm(s) on behalf of another person, If you are not the actual buyer, the dealer cannot transfer the firearm(s) 4!
to you. (See /nstructions for Question !1.a,) Exception: {f you are picking up a repaired firearin(s) fur another persan, you are nat
required to answer lla. and may proceed to question 1.6.

 

 

 

 

b. Arc you under indictment or information in any court for a felony, or any other crime, for which the judge could imprisan you for Yos Ry
more than one year? (See Instructions for Question 11,0.) Cc]
c. Have you ever been convicted in any court of a felony, or any other crime, for which the judge could have imprisoned you for more | Yes | No 4
than one year, even if you received e shorter sentence including probation? (See Instructions for Question 7 1.¢.) C]
d. Are you a fugitive from justice? a
Yes

c. Are you an unlawful user of, or addicted to, marijuana or any depressant, stimulant, narcotic crue, o: any other controlled subsiance? C

 

f. Have you ever been adjudicated mentally defective (whick includes a determination by a court, board, commission, or other lawful

mx (Rela

 

 

 

 

 

 

 

12, If you are an alien admitted to the United States under 4 nonunmigrant visa, do you fall within any o7 the exceptions set forth in the Yes
instructions? (If “yes,” the licensee must complete questlon 20c.) (See instructions far Question /2.) lf question i 1d. is answered tS
with a “no” response, then do NOT respond io question 12 and proceed to question 13.

authority that you are a danger to yourself or to others or are incompetent to munage your own affairs) OR have you ever been ‘Yes
committed to a mental institution? (See Instructions for Question 11.)
g. Have you been discharged from the Anmed Forces under dishonorable conditions? Gi Ry
h. Are you subject to 2 court order restraining you from harassing, stalking, or threatening your child or an intimate partner or child of | Yes | No/
such partner? (See Instructions for Question I 1.4.) L]
i. Have you ever been convicted in any court of 2 misécmeanor crime of domestic violence? (See Jastructions for Question | 1,i,) a |
. ee , Yes | No 4°
j- Have you ever mnounced your United States citizenship?
CL WY,
k, Are you an alien illegally in the United States? Yes Rf
|
I], Are you an alien admitted to the United States under a nonimmigrant visa? (See fnsrructions jor Question If),) Ifyou answered Yes | No J
"a0" to this question, do NOT respond to question 12 and Brocerd to question 33, |
No /

 

 

 

my

 

 

 

 

 

13. What is your State of residence |14. What is your country of citizenship? (List/check morethan |15. If you are not a citizen of the United States!}-).
(ifany)? (See Instructions for one, if applicable. if you ave a citizen of the United States, what is your U.S.-issued alier. number or
Question 73,) proceed to question 76.) United States of America admission number?

‘\ 45 Cc] Other (Specify)
Nore: Previous Editions Ars Obsolete Tranpsfcree (Buyer)iGontinagam Next Page ATF Form 4473 (5200.0) Pact |

Page | of 6 STAPLE IF PAGES BECOME SEPARATED Revised April 2012
Case §:18-6y-O0559-XR BOCUMENL 256-80 THRE CSEPALAS) Heatfee (123

 

I certify that my answers to Section A are true, correct, and complete, | have read and understand the Notices, Instructions, and Definitions
on ATF Form 4473. J understand that answering “yes” to question 11.a. if 1 am not the actual buyer is a crime punishable as a felony under
Federal Jaw, and may also violate State and/or local law. I understand that a person who answers “yes” to any of the questions 11.b. through
11.k. is prohibited from purchasing or receiving 5 firearm. I understand that a person who answers “yes” to question 11.1 is prohibited fram
purchasing or receiving a firearm, unless the person also answers “Yes” to question 12. 1 also understand that making any false oral or
written statement, or exhibiting any false or misrepresented identification with respect to this transactiyn, is a crime punishable as a felony
under Federal! law, and may also violate State and/or local Jaw. J further understand that the repetitive purchase of flrearms for the purpose
of resale for ivelihood and profit wibent a Federal firearms license is a viulution of law Gee Instructions for Question 16).

14, Trensferze’s/Buycr's Signature 17. Certification Date

Whi. KLEE» yy

Section B - Must BE’ Completed ByTransferor (Seller)

 

 

 

 

 

 

18. Type of firearm(s) to be transferred feheck or mark all thar apply): 19, 1f sale at a gun show or other qualifying event.
[_] Handgun Long Gun C] Other Firearm (Frame, Receiver, ete.|1. 0.6 of Event
(rifles or See Instructions for Question 15.)
shotguns} City, State
20a, Jéentification (eg., Virginia Driver's license (V4 Dt) or other valld government-issued photo identification.) (See instructions for Question 20.2.)
Issuing Authority and Typo of Identification Number on Identification Expiration Date of Identification (if any)
Month Day Year

 

 

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20b, Alternate Documentation Af driver's ticense or other identification document does nor show current residence andress) (See Instructions for
Question 20.b.)

 

20c. Aliens Admitted to the United States Under a Nonimmigrant Visa Must Provide: Type o7 documentation showing an exception to the nonimmi-
grant visa prohibition. (See instructions for Question 20.c,)

 

Questions 21, 22, or 23 Must Be Completed Prior To The Transfer Of The Firearm(s)} (See Instrections for Questions 21, 22 and 23.)
21a, Date the transferee’s identifying information in Section A was transmit-| 21b. The NICS or State transaction number (if provided) was:
ted to NICS or the appropriate Slate agency! (Month/Day/Yeur)

 

 

 

 

 

 

Month Day Year Zz LA .
Ti) | 0(@ A 6 |X
2c, The response initially provided by NICS or the appropriate State 21d. If initial NICS or State Tosponse was “Delayed,” the following
agency was, response was received fom NICS or the appropriate State agency:
or Rrccce Delayed C] Proceed o_o dix)
[ ] Denied {The firearm(s) may be transferred an CI Denied (date)
[] Cancelled (Missing Dispostrion
Information date provided by NICS) if State lew LJ Cancelled date)
permits (optional)} [| No resolution was provided within 3 business days.
2le. (Complete ifapplicable,}) After the Rrearm was transferred, the following response was received from NICS or the appropriate State agency on:
(date). ] Proceed [| Denied J Cancelled

 

21%. The name and Brady identification number of the NICS examiner (Optional)

 

(name) (aumber)
22, [| No NICS check was required because the wansfer involved only National Firearms Act firearm(s), (See fnstructions for Question 22.)

 

23, No NICS check wae required because the buyer has a valid permit from the State where the trensfer is to take place, which qualities as an
cxcmption to NICS (See Jnsiructions for Question 23.)

Issuing State and Permit Type Date of Issuance (ifany) | Expiration Date (if uny/ | Permit Number fif any)

 

Section C - Must Be Completed Personally By Transferec (Buyer)
If the transfer of the firearm(s} takes place on a different day from the date chat the transferee (buyer) signed Section A, the transferee must complete
Section C immediately prior to the transfer of the firearm(s). (See Jnstructions for Question 24 and 25.)
I certify that my answers to the questions In Section A of this form are still true, correct and complete.
24. Transteree’s/Buver's Signature 25. Recertification Date

 

 

Transferor (Sclicr}) Continue to Next Page
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Section D - Must Be Completed By Transferor (Seller)

 

the FFL should include both.)

 

26. 27. 28. 29. 30.
Manpfacturer and/or importer (If the Model Serial Number Type (piston, revolver, rifle,| Caliber or
manufacturer and importer are different, shogun, recetver, frame, Gauge

ete.) See instructions for
question 29}

 

 

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30a. Tota! Number‘of Firearms (Please handvarite ip &£, one, two, tiree, etc. Do

ONE

30c. For Use by FFL (See instructions for Question ic.)

hot use numerals.) — |30b, Is any part of this transaction a

Pawn Redemption? CI Vie Val No

 

 

Complete ATE Form 3310.4 For Multiple Purchases of Handgans Within § Consecutive Business Days

31, Trede/corporate name and address of transferor (seller) (Hand stamp may be

used.)
ee ite ot

32. Federal Firearms License Number (iMfust contain af least first »
three and last five digits of FFL Nuntber X-AX-XXXAL)
(Hand stamp may be used.)

FF( #5-74-00468

 

 

The Person Transferring The Firearm(s) Must Complete Questions 33-36. For Denied/Cancelled Transactions,
The Person Who Completed Section B Must Complete Questions 33-35.
1 certify that my answers in Sections B and D are true, correct, and complete. { have read and understand the Notices, Instructions, and Definitions —
on ATF Form 4473. On the basis of: (1) the statements in Section A (and Section C if the transfer dues not occur on the day Section A was com-
pleted); (2) my verification of the identification noted in question 20a (and my reverification at the time of transfer if the transfer does not occur on the
day Section A was completed); and (3) the information in the current State Laws and Published Ordinances, it is my belief that it is not unlawful for
me Co sell, deliver, transport, or otherwise dispose of the firearm(s) listed on this form to the person identified in Section A,

   
 

33. “Bill G Name (Please print)i34, Tygasteror‘s/Seiler’s Signature
i Compr

NOTICES, INSTRUCTIONS AND DEFINITIONS

Purpose of the Form: The information and certification on this form are
designed gc that « persen licensed under 18 U.S.C, § 923 may determine if he
or she may lawfully sell or deliver a Firearm to the person identified in
Section A, and to alert the buyer of certain restrictions on the receipt and
posecssion of firearms, This form should only be used for sales or transfers
where the seller is licensed under 18 U.S.C. § 923. The seller of a firearm
Tust determine the lawfulness of the tansaction and maintain proper tecords
of the munsection, Consequently, the seller must be familiar with the
wavigions of 18 U.S.C, $§ 921-931 and the regulations in 27 CFR Part 478,
n determining the lawfulness of the sale or delivery of a lung gun (rifle ar
‘hotgun) to a resident of another State, che seller is presumed to kuow the
ipplicable State laws ond published ordinances in both the seller's State and
he buyer‘s State.

After the seller haa completed the firearms (runsaction, he or she must make
he completed, original ATF Form 4473 (which inctudes the Notices, General
nalractions, dnd Definitions), and any supporting documents, part of his or
(Gf Permanent records. Such Forms 4473 must be retained for at least 20
‘ears. Filing may be chronological by date), alphabetical (hy nemze), or
lumerical (hy transaction serial number), 35 long as ail of the seller's
omplered Forms 4473 ste filed in the sarne manner. FORMS 4473 FOR,
JENTED/CANCELLED TRANSFERS MUST BE RETAINED: If the transfer
fa firearm ig denied/cancelled by NICS, or if for any other teason the
‘ansfer is not complete after a NICS check is izislated, the Hecnsee musi
stain the ATF Form 4473 in his or her recozds for at laast 4 years. Forms

473 with respect to which a sale, delivery, or transfer did not take place shal!
@ separately retained in alphabetical (by neme) or chronglogical (av dare of
‘ansferee’s certification) order.

335. Transferor’s/Seller’s Title 136. Date Transferred

KNOGHTE | H#- 7-1

Ifyou or the buyer discover that an ATF Form 4473 is incomplete or improperly
complcied after the fircart has been transferred, and you or the buyer wish to
take a record of your discovery, then photocapy the inaccurate form and make
any necessary additions or revisions to the photocopy, You only should make
changes to Sections @ and D, The buyer should only make changes to Sections A
and C. Whoever made the changes should initial and date the changes, The
corrected photocopy should be allached to the original Form 4473 and retained as
pert of your permanent records.

 

Over-the-Counter Transaction: The sale or other disposition of a firearm by a
seller to a buyer, at the seller's licensed premises. ‘This includes the sale or other
disposition of a rifle or shorgun to 4 nonresident buyer on such premises.

State Laws and Pobiished Ordinances; ‘The publication (ATF P 3300.) of
State fircarms luws and local ordinunces ATF distributes to liconsecs.

Exportation of Firearms: The Smtc or Conmmerue Oepartments may require you
to ohtain a license prior to export.

Section A

Question 1. Transferee’s Full Name: The buyer must persoaally complete
Section A af thig form and certify (sign) that the answers are true, correct, and
compicte, However, if the buyer is unable to read and/or write, the answers
(other than the signature) moy be completed by enother perser, excluding the
soller. Two persons (other than the’xeller) must then sign as witnesses to the
buyer’s answers and signature,

Ween the buyer of a firearm ia a corporation, company, associztion, partnership,
or other such business entity, un officer authorized tu wet on behalf of the

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business must complete Section A of the form with his or her personal
infonnation, sign Sectian A, and wach ¢ written stalement, executed under
penaities of perjury, stating: (A) the firearm js being acquired lor the use of
end will be the property of that business entity and (B) the name und address
of thut business efiity, If the buyer's name in question J, is iMegible, the
seller must print the buyer's name above the name writen by the buyar,

Question 2. Current Residence Address: US. Postal abbreviations arc
acceptable, fp, Si. Ra, Dr. Fa, NC, ete), Addreys cannot he a post office
box, County and Parish ave one and the sume,

if the buyer is a member of the Armed Forces on active duly acquiring g
fitcarm in the State where his or hor permanent duty ycation jy located, but
does not reside yt his or her PEMMEnent cury stetion, the buyer must list bath
his or her penmanent duty stution redress and his or her residence address in
sponse to question 2. If yau are a U.S. citizen with pwo States of residence,
you should list your current residence address in response tO question 2 (ing.,
if yan are buying a firearn while staying at vour weekend home in State X,
vou should fst your address In Sate X in vespouse tg question 2),

Question 9, Unique Personal Idendlication Nuniber (UPEN): For
Purchasers approved to have information maintained ubout them in the FBI
NICS Voluntayy Appeal File, NICS will Provide them with a Unique Peragnal
Identification Number, which the buyer should record in question 9, The
licensee may be asked to provide the UIPIN to NICS or the State,

Question 11.9. Actual Transferec/Buyer: For purposes of this form, you are
the actual bansfevee/buyer if you are perchasing the firearm lor yourself o¢
otherwise acquiving the firearm for yourself (.f., redeeming the firearm from
Pown/retrieving i fram consignment, firearin raft winner). You are slso the
actual traneferce/buyer if you are logithnately perchasing the firearm as u gift
fore third party. ACTUAL, TRANSFEREE/BUYER EXAMPLES: Mr,
Simth asks Mr. Jones to Purchase a firearm dor Mc Smith, Mr South gives Mr.
Jones the mency for the firearm. Mr. Jones is NOT THE ACTUAL TRANS-
FEREE/BUYER of the firearm and must answer “NO” to questivn I ]_s, The
licensee may not transfer (he firearm to Mr. Jones, I Towever, [F Mr. Brown
HOCS ta buy a firearin with his own Maney to give lo Mr, Blauk as a Present,
Mr, Brown is the actual wunsfercefbuycr of the firearms and should answer
“YES?” to question Ita, However, you may not transfer a fircerm to any
Person you know or have reasonable cause to beliave is prohibited under 18
U.S.C. § 922(g), (0), or (xX). Please note: EXCEPTION: If YOU are picking
Up a repaired firearm(s} for another PRISON, you are not required to answer
1].a, and may proceed to question 11.b.

OQttestion Mb. 1k Definition of Prohibited Person: Generally, 18
U.S.C. § 922 prohibits the shipment, transportation, receipt, or possession in
or affecting interatste coramerce of fircerm by one who; has been convicted
of a misdemeanor ctime of domestic violence: has been convicted of & felony,
or any other crime, punishable by imprisonment for e term exceeding one year
(this does not include Stare Misdemeanors punishable AY imprisonment of
0 years or fess); is a fugitive from jestico; is un unlawful user of, or
adzirted to, mMarijagny or any depressant, stimulant, or narcotic drug, or uny
other controlled substance: hes been adjudicated mentally defective or hay
been committed to a mental institution: haz becn discharged from the Atmed
Forces under dishonorable conditions; has renounced hls or her U.S.
citizenship; is an alicn illegally in the United States or af alien admitted to the
United States under a nonimmigrant visa: or is Subjeci to certain restraining
orders, Furthermore, sectian 922 prohibits the shipment. transportation, or
receipt in or affecting intorntate commerce of a fircerm by une who is under
indictment or information for a felony, or any other crime, punishable hy
imprisoniuent for a term excesding one year,

Questinn 11.b, Under Indictment ar Information ar Convicted In any
Court: An indictment, information, OF Conviction ip any Federal, Stare, or
Jocal courl. An infonnation is a formal accusation afa crime vevified by a
Prosceutar

EXCEPTION to Nic, and Tit A person who hes been convicted of a
felony, nr ony other erttne, for which the Judge could have imprisoned the
Person for more then ong year, or who has been convicted of a misdemeanor
crime of domestic Violence, is not prohibited from Purchasing, receiving, or
possessing a firearm it: (1) under the law of

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Page 4 of 6

the jurisdiction where the convleton ovcurred, the person has been pardoned, the
conviction has been expunged ot set aside, or the Person as hed their eivil rizhis
(the right fo vote, sit an a Jury, nd hal public affice) taken away and later
restored AND (2) the person is not Prohibited by the law of the jurisdiction wher:
the conviction occurred from regciving or Posacssing fircarms, Persons subject tc
this exception should answer “na? tn (1.c, or 11.1, a8 applicuble.

Question 11.f Adjudicated Mentally Defective: A determination by 2 enurl,
board, cummission. ar other lawful guihority that a person, is u resell uf marked
subnormal inleliipence, or mental illness, iucompetency, condition, or disuage:
QO) isa danger to himself or to othera; or (2) lacks the mental capacity to contract
of manage his ewn affairs. This rerm shall include: (1) a finding af insanity by a
courl in a criminal case: and (2) Those persons found incompetent to sutnd tria! or
found not guilty by reason of lack of menial responsinility,

Coromitted to 1 Mental Institution: A Formal commitment of A person to a
menial instiation by a court, board, commission, or other lawfal authority. The
term includes a commitment 1 A mental institution involuntarily. The term
includes commitment for mental defoctiveness or mental Wnegs, It algo includes
commutments for other reasons, such os for deyg usc, The i¢rm does not include 4
pet'san 0 & ments! institution for observation or s Voluntary admission te a mental
institution. Please also tefer to Question U1.¢. for the definition of a prohibited
Person,

EXCEPTION ro I, Ff NICS tprovement Am endments Act of 2007: A person
who has beon adjudicated as 2 mental defective or committed to a mental
institution is not prohibited if: (1) the person waa adjudicated or commitied by a
department or agency of the Federal! Government, such 25 the United States
Department of Veteran's Affnira (“VA”) (as opposed to a State court, State board,
or other lawful State authority); and (2) etther; (8) the person's adjudication or
cammitnent for mental incompetency was sel-auide oy expunged by the
adjudicating/oommilting Bpeacy, (b) the person has been fully released or
discharged from eil mandatory treatment, SUPCEVinIOn, OF monituring by the
ageney; of (a) the person was found by the apeney to no longer rufler from ihe
Menzal |eslth condition that served ar the basis of the initin acjudication,
Persons who [it this exception should answer “yo” ¢y Item 118. This
exception does not apply to “iy person who was udjudicated to be nol guilty by
Feason of insanity, or basee on tuck of mental responsibility, or found ineompe-
Tent to stand twist, in any eriininel cuse or under the Uniform Code of Military
Justice,

Question 11.4. Definitinn of Restraining Order: Under [8 U.S.C, & 923,
firearms may not be sold to or received by persons subject to 9 cowt order that:
(A) was issued ufier a hearing which the parson Teccived actual notice of and hed
én oppertunity to perticipare in; (B) restrains such person fromm harassing, slulking,
or threatening an intimate partner or child of such intimate Parther or person, or
cngéging in other conduct that would place an intimate parter in Tedgonable
fear of bodily injury to the Parner or child: ond (C)(i) includes a finding that

yuch person represents a credible throat to the physical safety of such intimate
Partner or child: or (ii) by it terms eaplititly prohibits the use, attempted use,
or threatened use of physiea! force against such intimate partuer or child thar
would reasonably be expecied to cause bodily injury, An “intimate patiner" of

3 person is: the spoune or former Spouse of the person, the parent of a chi Id of
the person, or an individual who cuhabitatcs or cohabjtating with the person.

Question 11.1. Definition of Misdemeanor Crime of Domestic Violence: A
Federal, State, local, or tribal offense that ig a misdemeanor under Federal, State,
of tribal law and has, as un element, the use or attempled use of physical force, ar
the threatened ue of a deudly weapun, committed by a current or former Apuuge,
purcnt, or guardian of the viclim, by A person with whom the victim shares a
child in conunon, by a person wha is cohubitating with, or has cohabited with

the victim as 4 §p0Usc, parent, or Ruardian, ar by a Person similarly yituated ty

4 spouse, parcht, ar pugrdian of the victim. The term includes all misdemeanors
that lave as an element the use or attempted tse of physical force or the
threatened yse ofa deadly weapon (42, agsautl and banery), if the offense ts
cammitled by one of the defined parties. (See Exception jo fie, ang Mai 4
Ptrsan who has been convicted of a tnisdemeanor crime of domestic violence ign
is not protubited uniesy: (J) the person was topresented by a lawyer or pave up
the night to a lawyer; ar (2) if the Person was entitled to a jury, was tried by a jury,
oF gave Up the right to 4 jury tial. Persong subject to this exveption should
aiswer “no"™ to [ 1.3,

383
ae ATF Form 4474 ($200.9) Part)
Case §:48-E¥-88888-XR BSEHIMEHt 286-20 IEP SH/24490 Peageltbi fs

testlon 11.1, An alicn admitted to the United States under 2 nooimmigrent

2 includes, among others, persons visiting the United States temporarily for
iiness 0° pleasure, persons studying in the United States who maintain s
idence broad, and certain temporary foreign worgers, The definition does
IT include permanent resident alicns nar does it apply to nonimmigrant

:ns admitted to the United Stutes pursuant to either the Visa Waiver

igram oF lo regulations otherwige exempting them from viaa requiremsnts,

alien admitied to the United States under a nonimmigrant visa who
ponds “yes” to question (1,], mugt provide a response in question 12
deating whether he/she quulifies under an exesption.

estion £2. Exeeptions to the Nonimmigrant Alien Response: An alien
nitted to the United States under a nonimmigrant vise is not prohibited

Mm purchasing, receiving, or posscaging a fircarm if the alien! (1) is in
session of 2 hunting license nr permit lawiully issued by the Federal
vermragnt, a State, or local government, or an Indisn tribe federally
egnized by the Bureau of Indian Affairs, which is valid and unexpired; (2)
admitted ta the United Siares for lawful hunting or sporting purposes; (3)
received a Waiver from the prohibition from the Attamecy Generej of the
ited States; (4) is an official representative of a forcipn government who is
redited to the United Siates Gcevernment or the Goverument’s mission to an
rmotional organization having its headquarters in the United Stotes; (5) ts
touts {¢ or from another country to which that alien is accredited; (€) is an
cial of a Foreign government or a distinguished foreign visitor who hus
nso designated by the Department of State; or (7) [5 a foreign law
orcement ocficer of a friendly foreign government entering the United

tes on official law enforcement business.

sons subject to one of ihese exceptions should anawer “yea™ to questions

|. and 12 and provide documnentution such as a copy of the hunting license
etter granting the waiver, which must be recorded in 20.c, Ff the transferee
yer) answered "yes" to this question, the licensee must complete 20.c,

rreller should verify supporting documentetion provided by the purchaser
Toust attach a copy of the provided dncumentarion to this ATF Form 4473,
arms Transaction Record,

estion 13. State of Residenee:; The State in which an individual resides.
individual resides in a State if he or she is present in a State with the
ation of making a home in that State. [fan individyal is a member of the
aed Forces on active duty, his or her State of residence also is the Staim in
ch his of her permanent duty slation iy located.

ou are a US. citizen with two States of residence, you sheuld list your
tent residence addreas in response to question 2 fag. if you ere buying 2
arm while staying ar your weekend home in Siate X, vou should list pour
vess In State X in response to question 2.)

estion 16. Certification Definition of Engaged in the Business: Under
U.S.C. § 927 (a)(1}, itis unlawful for a person to engage in the business of
ling in fircarms withoul w license. A person is cegaged in the busineys of
iing in firearms if he or she devotes time, attention, and labor to dealing in
anms as 8 regulor course of trade or business with the principal objective of
lihood and profit through the repetitive purchase and resale of firearms, A
nse is not required of a person who only makes occasional sales,

lunges, or purchases of firzstms for the enhancement of 4 personal

ection or for a hobby, of who sells all or pert of his or her personal

tclion of firearms.

Section B

islion 18. Type of Firearm(s): Check all boxes that apply. “Other
tata frames, receivers and other fircarms that are net cither handguns or
3 guns (rifics or sholuns), such as firearms having a pistol grip thal expel
iolgun shell, or National Firearmy Act (NFA) fircarms,

frame or receiver can only be made inta a long gua (rifle on shotgun), it is
a frame or receiver not a handgun or long gin. However, they sill are
sams” by definition, and subject to the same

edsor6

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GCA limitations as any other firearms. See Sretion 921 (aj(3)(b), 18 U.S.C,
Section 922(b}{ 1} mukes it unlawful fer a licensee to sell any firearm other than g
shotgun or rifle to cay pesgon under the age of 2]. Since a frame or receiver for 2
firearm, to include one that can only be imade into 2 long gun, is a “fircarm ovher
than a shotgut or rifle.” it cannot be gdensferred to anyone under the age of 21,
Also, note that multiple sales forms arc not required for frames or receivers of any
firearms, or pistol grip shotguas, since they are not “pistols or revolvers” under
Section 923(2)(5)(a).

Question 19. Gun Shows: lf sale at gun show or other qualifying event
sponsored by uny nelional, State, or local organization, as authorized by 27 CFR
§ 478.100, the seller must recurd lhe name of event end the location (elty and
Stare) of the sale in question 19,

Question 20n, Identification: Liat issuing authority (eg., Stare, Conary or
Municipality) and type cf identification presented (¢.g., Minginéa driver's licenve
(V4 DL; or other valid government-issued identification).

Know Your Customer: Before a licensce may sell or deliver a fireann to a
nonlicensce, the licensee must establish the identity, place of residence, and

age of the buyer. The buyer must provide a valid government-iseued photo
identification to the seller that contains she buyer's name, residence address,

and date of birth. The licensee must record the type, identification number,

and expiration date (ary) of the identification in question 20.2. A drivec's
license or an identification card issued by a State in place of a license is
acceptable, Social Security cards are not acceptable because no address, date of
birth, or photograph is shown on the cards, A combination of government-

igsued Jocuments may be provided. For example, i7 a U.S, citizen has two States
of residence end ig trying to buy » handgun in State X, he may provide a driver's
license (showing Atv name, date of birth, and photograph) issued by State Y and
another covernment-issued document (such ay a tax document) from State X
showing his residence address. IF tha buyer ig 1 member of the Armed Forces on
aetive duty acquiring a firearm in the State where his or her permanent duty
stution is located, but he or she has a driver’s license from another State, you
should list the buyer's nulitacy idewiification cunl ond official urders showing
where his or her permanent duty station is located in response to question 20.a.

Question 20.b, Alternate Documentation: Licensees may accept a combination
of valid aovernment-issuec documeuts to satisfy the identification document
requirements of the law. The required valid governmeni-issued photo identifica-
tion document bearing ihe name, photograph, and date of birth of transferec may
be stipplemented by another valid, government-issued document showing the
{ransieree’s residence address, This altemate documentation should be recorded
in question 20.b., with issuing authority end type of identification presented. A
combination of government-issucd documents may be provided. For cxample, if
a U.S. citizen has two Stetes of residence and is trying to buy 2 handgun in State
X, he may provide a driver’s license (showing hls name, date of birth, and
photograph) issued by State ‘Y and another government-issued document (szci: as
a tax document) from State X showing his. residence address.

Question 20c, Documentation for Allens Admitted to the United States Under
a Nonimmigrant Visu: See instructions for Question 11.1. Types of acceprable
documents would inelude a valid hunting license lawfully iaaued in the United
Stutey or a letter from the U.S. Attomey Genaral granting 2 waiver.

Question(s) 21, 22, 23, NICS BACKGROUND CHECKS: 18 U.S.C. § 922(t)
requires thgt prigr tg trangterring any frcarm to an ualicensed person, & licensed
importer, manulucturer, or dealer must first contact the National Instant Criminal
Background Cheek System (NICS). NICS will advise the licensee whether the
system finds any information that the purchaser is prohibited by law from
possessing or receiving 3 firearin, For puecposes of this form, contacts m NICS
include contacts to Stace agencies designated to conduct NICS cheeks for the
Federal Government. WARNANG: Any soller who transfers a firearm to any
person they know or have reasonable cause to believe is prohibited from receiving
or posscesing a fircarm viclates the law, even if the seller has complied with the
background check requiremenis of the Brady Jaw,

After the buye: has completed Section A of the form and the licensee hea
completed questions 18-20, and Scfore transferring the Firearm, the licensee must
contact NICS (read below for NICY check exceptions, However, the licensee
should NOT contact NICS and should stop the tensaction if: the

ATF Form 4473 (5300.9) Purt |
Revised April 2012
Case FAS GY-OSSSERR BOGWMEE ASSO THRUORSPALASO eatpe Be Gels

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see900 Slodod Page 1 of ]

Customer Sale - Disposition Pending

Scan/Enter Serial Nbr: |

 

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Tlo Mugnakees yy

Phone Hens:

  

Multiple Sale: ji

 

Main Menu

 

 

| Clear Screen | [Back

J] Confirm ‘|

 

VERIFY ALL DATA BEFORE CONFIRMING.

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05/026
EASE B:18:CV:G0S8S- RR BOGUT 25-80 Frage CSePH 790 Fag f3G tftp ape Lofl

FBI NICS E-Check - Confirmation Acknowledged

DEVIN KELLEY
NTN; 36RMN9Z

04/07/2016 17:59:44

The following response
was confirmed with
Nis:

PROCEED

Close

Print Page

Print Details |

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hhttnesdAyaena alin weedeat ole ow eae . * ==
BSE S-AE-SVGOSSS RR DSSUMEN 280-20 THRESH 2 PRfeleateliage 1 of 1

FBI NICS E-Check - Confirmation Acknowledged

DEVIN KELLEY
NTN: 36RMN9Z
04/07/2016 17:59:44

The following response
was confirmed with
NICS:

PROCEED

Close |

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C&S 5:18-GYSESSO RR

‘Ay Academy

SPORTS+2UTPOORS a

Customer Name: Deus WN (Huey Phone#t SY PE- 2° 5 iF
ID Type: a) i Ibe [4-8 3 th Db 28 Exp Date; \BLON Nr expire stop sale}

Instructions: Please circle “Y” for yes, "N” for no, or write “N/A” next to the questions pel
: STEP .1: Follow all safety instructions for handling-firearms: iy
; as the customer been instructed to follow all safet instructions for a firearm transfer?
ap ‘STEP . 2: Verify that the customer meets the age:and residency requirements for a firearm transfer... -
Y N, 2. Does the customer have valid, UNEXPIRED government issued photo identification?
ve 3. Does the customer meet the minimum age (21) and residency requirements for a handgun, pistol-prip firearm, or receiver
ony transfer?
t / . Dos the SUSERTIE® meet the minimum age requirement (18) for a long gun transfer? nd
LETS ane ea eboney aren Dla Fal slice ace oul) ae) of=1 an (aC=tn] Wc erstal el 1 eran nea tn tH
N 5. Did the customer Puree: a valid, UNEXPIRED govt. issued photo ID containing their name, current it heen acide; and 2 a
. date of birth?
N A 6. If no, did the customer provide valid government issued supplemental documentation such as a voter registration, vehicle
registration, property tax bill, huntine/fishing license, or a change of address form from tne Dept. of Motor Vehicles?
Is the custamer a US Citizen? If yes, skip to STEP 4,
Is the customer a Resident Atien? If yes, did the customer provide an Alien Registration Number (AR# or USCIS#)?
Is the customer a Nonimmigrant Alien admitted with a Visa? If yes, did the customer provide a valid |-94 number and a valid
state hunting UCase fram any US state (cannot be temporary)?
: a - STEP. 4: Complete a Federal Firearms Transaction Record - Form 4473:
10. Bid the customer complete each required section of the Farm 4473?
11.  |s question 11a answered correctly?
12. Are questions 11b through 11k answered correctly?
13. Are questions 111 & Question 12 answered correctly?
Has the customer signed and dated the Form 4473?
fi STEP 5: Pass the NICS/POC Backeround Check. ’ Bhi ae
15. Did the customer provide a valid, UNEXPIRED concealed handgun permit with current home address to VRS NICS? The
concealed handgun license may be used as an exemption to a NICS background check only {f it is issued by one of the
following states and is presented in the same issuing state; Texas, South Carolina, Georgia, Arkansas, Mississippi, North
Carolina, Kentucky, Kansas (must be fssuéd on or after July 1, 2010), and Louisiana (must be e 5 year permit issued on or
after March 9, 2075).

Issufne State CHL/Permit #

   

 

 
 
 

  
 

 
   
 

 
  

  
  

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issue Date (if applicable) / i Exp Date / /
Y N pw NC ONLY - For handgun transfers: Did the customer provide a valid pistol purchase permit? Has the permit been attached to
oe the Form 4473? (Note: If the customer has a NC concealed handgun license, the permit is not required.)

& ‘N 17. Did the customer receive a Proceed response from NICS ar the FOC?

NO N18. Has the NICS/POC Final Status printout been attached to the Form 4473 (NICS - detailed printout)?

re "_: STEP.6; Review of paperwork and firearm, and complete the firearm transfer (completed by a manager):

19, Has the customer inspected the firearm to make sure it is the correct model, caliber/gauge, and to ensure there are no
issues with the firearm?

( Y NN 20, Has the manager inspected the firearm to the Form 4473 to make sure the correct manufacturer/importer, model, sertal #,

— firearm type, and caliber/gauge have been documented correctly on lines 26 - 30 on the Form 4473? This information must

oy come clirectly off of the firearm and match the Electronic A&D log. Report any discrepancies to Firearm Compliance.

\Y“N 21, Has the manager verified that the serial number of the firearm matches the firearm box?

wate’ N 22. Has the manager verified that there is an owner’s manual in the box?

Cyr N 23, Has the manager examined the customer's paperwork for accuracy and completeness?

Y¢N 24. Has the manager verified the Final Status detailed Printout matches the customer's information on the Form 4473 and the

status is a PROCEED?

    
    
 

 

 

Y-N 25. Has the manager a mee his/her name LEGIBLY and signed the Form 4473?
att jf ~~ | -
Manager Printed Name Jv (| ) MA ie ¢ Toe Date U ?) |
a “ ou 2 ee a
Manager Signature a. at Se <> Reef AU rm Trans# eT

 

 

 

Serial # x y Pie O6612 SKU#F | C203 30 47 {ist additional firearms ar back of form)

DoS Ot). t
Revised August 2015
C8SE B18-Q/SESSS RR BOGUNEN ZSE80 HRP BD TajeVeUrls
OMB Ne. 1140-0020
U.S. Department of Justice
Burran of Alcohol, Tobacco, Fircarms and Explosives Firearms Transaction Record

UY WY PURI A A

WARNING: You may hot receive a firearm if prohibited by Federal or State law. The information you provide will be used to Transferor’s/Seller’s
determine whether you ure prohibited from receiving a firearm. Certain violations of the Gun Control Act, 18 U.S.C. 921 Transaction Serial
et, seq. are punishable by up to 10 yeury imprisonment and/or up to 9 $250,000 fine. Number (If ary)

 

Read the Notices, Instrnetions, and Definitions on this form. Prepare in original only at che licensed premises (“licensed premives"| tonic

includes business temporarily conducted from a qualifying gun show or event in the Same State in which tha licensed prentises is

located) unless the transaction qualifies under 18 U.S.C. 922(c). All entrics must be handwritten in ink “PLEASE PRINT.”
Section A - Must Be Completed Personally By Transferee/Buyer

1. Transferee’s/Buycr's Full Name (if legal name contains an initial onfy, record "10" after the initiat. ifno middle initial gr name, record "NMN".)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Last Name (including suffix fe.g.. fr Sy i, £1) First Name Middle Name
Kelley . Devin Patrick
2. Current State of Residence und Address (U.S. Postal abbreviations are acceptable. Cannot be a post office box.)
Number and Street Address city County Stats | ZIP Code
2825 Fm 2722 New Braunfels Comal County ™ | 76132
j
3. Place of Birth 4, Height |5. Weight |6. Sex 7. Birth Date
U.S. City and State -OR- | Foreign Country Fr § (Lhs,) Malc Month Day Year
San Marcos, TX In, 10 245 [_] Female 02 12 1901
§. Social Security Number (Optional, but wil help prevent misideatification) 9, Unique Personal Identification Number (UPIN) if applicable (See
34-24-5484 Instructions for Question 9.)
]0,a. Ethnicity 10.b. Race Un addition to ethnicity, selact one or more race in 10,b, Both 10.0, and 16.0, must be answered.)
C] Hispanic or Letino Cc] Americen Indian or Alaska Native C] Black or African American White
[x] Not Hispanic or Tatinn ("J Asian |_| Native Hawaiian or Other Pacific Islander
Tl, Answer the follawing questions by checking or marking "yes” or “no” in the buxcy to the right of the questions. Yes | No

 

a Are you the actual transferec/buycr of the Arcarm(s) listed on this form? Waring: You are not the actual transferee/buyer if you
are acquiring the firearm(s) on behalf of another person. Ifyou are not the actual transferee/buyer, the Hcensee cannot transfer
the firearm(s) to you. Exception: Ifyou are picking up a repaired firearm(s) for another person, you are not required to answer I1.a,
and may proceed to question 11.b. (See Instructions for Question /1,a.)

Es
O

 

b. Are you under indictment or information in any court for a felony, or any other crime for which the judge could imprison you for
more than one year? (See Jastructlons for Question 11.6.)

Pe

 

c. Have you cver been convicted in any court of e felony, or any other crime for which the judge could have imprisoned you for morc
than onc year, even if you received a shorter sentence including probation? (See Instructions for Question Hie)

FX]

 

 

d. Are yous fugitive from justice? (See Instructions for Question I],d,)

 

e. Are you an unlawful user of, or addicted to, manjuana or any depressant, stimulant, narcotic drug, or any other controlled substance?
Warning: The use or possession of marijuana remains anlawful uoder Federal law regardless of whether it has been legalized or
dceriminalized for medicinal or recreational purposes in the state where you reside.

f. Have you ever been adjudicated as 2 mental defective OR have you ever been committed to mental institution? (See insirwctions
Jor Question iif)

ge. Have you been discharged from the Armed Forces under dishonorable conditions?

 

 

 

h. Are you subject to a court order restraining you from horassing, stalking, or threatening your child ar an intimate partner or child of
such partner? (See Instructions for Question 11h)

 

 

 

 

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C4 | |b | ll |e

i, Have you ever been convicted in any court of a misdemeanor crime of domestic vialence? (See Jnstructions for Question LLi)

 

12.a, Country of Citizenship: (Check/List more than one, [fapplicable. Natlonals of the United States may check U.S.A.)
[x] United States of America (1.5.4) [| Other Country/Countries (Specify:

 

 

 

 

 

 

 

 

 

12.b. Have you ever renounced your United States citizenship? 4

12.c. Arc you an alien illegally or unlawfully in the United States? C| &

12.4.1. Ate you an alien who has baen admitted to the United States under a nonimmigrant visa? (See /nstructiony far Question 12.4.) CJ |
12.4.2,  Ifyes", do you full within any of the exceptions stated in the instructions? WA |E]] Ol

13. If you are an alicn, record your U.S.-Issued Alien or Admission number (ARE, USCIS#, or 1948):

Previous Ecitions Are Obsulete Transferee/Buyer Continua to Next Page ATF Forn: 4473 (3300.9)

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I certify that nry answers in Section A are true, correct, and complete. 1 have read and understand the Notices, Instructions, and Definitions on ATF Form
4473, J understand that answering “yes” to question 11.2. if I am not the actual transferce/buyer is a crime punishable ag a felony under Federal Jaw, und
Muay also violate State and/or local law. I understond that a person who answers “yes” to any of the questions 11.b. through 11.4 and/or 12,b. through 12,c.
is prohibited from purchasing or receiving 3 firearm. I understand that a person who answers ves” to question 12.4.1. is prohibited from recciving or
possessing a firearm, unless the person answers “yes” to question 12.4.2. and provides the documentation required im 18.c. also understand that making
any false oral or writton statement, or exhibiting any fulse or misrepresented identification with respect to this transaction, is a crime punishabie a5 2
felony under Federal Iaw, and may also violate State and/or local law. | further understand that the repetitive purchase of firearms for the purpose of
resale fur livelihond and profit without a Federal firearms license ix a violation of Federal law. (See Sustructions for Question 14.) -

 

 

 

 

 

 

 

 

 

 

14. Transferce’s/Buyer's Signature 15, Certification Date
10/18/2017
Section B - Must Be Completed By Transteror/Seller
16, Type of firearm(s) to be transierred (check or mark ail chat apply): 17. If transfer is at a qualifying gun show or event:
[x] Handgun C] Long Gun Other Firearm (frame, receiver, ete. |\ume of Function:

(rifles ar See Insiructions for Question 16.)

shotguns} City, State:
18.a.ldentification (z.g., Virginia Driver ¥ license (VA DL) or ather valid goverament-isstied photo identification.) (See Instructions for Question 18,a}
Issuing Authority and Type of Identification Number on Identification Expiration Date of Identification fif any)

Month Day Year
TX OL 25828192
62 12 2024

 

18,b. Supplemental Government Issued Documentation (if identification document does not show current residence uddress) {See Instructions for
Question 18h)

18.c, Exception to the Noniramigrant Alien Prohibition: If the transferee/buyer answered “YES" te 12.4.2, the wansferor/seller must record the type of
ducumentation showing the exception to the prohibition and attach # copy to this ATF Form 4473. (See Instructions for Question /B.¢)

 

 

Questions 19, 20, or 21 Must Be Completed Prior To The transfer Of The Firearm(s) (See Instructions for Questions 79, 20 and 22.)

 

 

 

 

 

 

19.0, Nate the iransteree's/buyer's identifying informution in Section A was 19.b. The NICS or State transaction mumber fi provided) was;
transmitted to NICS or the appropriate State agency;
Month Day Year
40 4a 2017 {OODLC14M
19.c. The response initially (first) provided by NICS or the appropriate State 19.d. The following regponse(s) was‘were later received from NICS or the
agency was: appropriate Stale agency:
Pineeed Delayed [_] Proceed (date) [_] Overturned
| Denied [The firearm(s) may be transferred on CJ Denied (date)
tled if State law permits (aptionai)}
[_] Cancelle [| Cancelled (date)
[ | No response was provided within 3 busincss days.

 

 

19.e. (Complete if applicabie,) After the fircarm was transferred, the following response was received from NICS or the appropriate State agency on:

 

 

(date). | Proceed | Denied [i Canvelled
19. The name and Brady identification number of the NICS examiner. (Optional) | 19.2. Name of FFL Employee Completing NICS check. (Optional)
REYES NINO
(name) tnumber)

 

 

20, No NICs check was required because u background check was completed during the NFA approval process on the individual who will receive
the NFA ficearm(s), as reficcted on the approved NPA, application. (See Instructions for Question 20.)
21, CF No NICS check was required because the transferee/buyer has a valid permit from the State where the transier is to take place, which qualitias
as an cacmptign to NICS. (See Instructions for Question 21.)
Issuing State and Permit Type Dute of Issuance (any) Expiration Date (ifuey) Permit Number (if any}

 

Section C - Must Be Completed Personally By ‘Iransferee/Buyer
If the transfer of the fircarm(s) takes place on a different day from the date that the transferee/buyer signed Section A, the transferes/buyer must complete
Scctian C immediately prior to the transfer of the Grearm(s), (See Instructions for Question 22 ond 23.)
T certhfy that my answers to the questions in Section A of this form are still true, correct, and complete.

22, Trmsferee’s/Buyer’s Signature 23. Recertification Date

 

 

Transferar/Seller Continue to Next Page
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i ATF Form 4473 (5360.9)
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Section D - Musi Be Completed By Transferor /Seller Even If The F irearm(s} is Not Transferred

 

 

 

 

- 24, 25. 26, 27, 28.
Manufaetyrer and Importer (if any) (ifthe Madel Serial Number Type (See Instructions | Caliber or
manufacturer and importer are different, | (If Designated) for Question 27,} Gauge
the FFL must inciude both)
1. RUGER SR22 3886-99791 Pistol 22 LR

 

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REMINDER - By the Close of Business Complote ATF Form 3310.4 For Muldple Purchases of Handguns Within 5 Consecutive Business Days

39, Total Nuinber of Firearms Transferred (Please Aandwrite bv printing ¢.g., zero,

one, two, three, ete. Da not use ntenerals.) ong

30. Check if any pert of (his transaction is o pawn redemption.
| Line Number(s} From Question 24 Above:

 

31, For Use by Licensee (See Instructions for Question 3].

32, Check if this transaction is to facilitate a private party transfer.
Ol (See instructions for Question 32.)

 

 

33, Trade/corporate name and address of transferor/seller and Fedcral Firearm License Number (fus? contain ut least first three aid last five digits

of FFL Number X-XN«XXXXX.) (Hand stamp may be used.)
5-74-01380
Academy Store 46
45350 IH 35 North
Selma, TX 76154

 

The Person Transferring The Firesrm(s) Must Complcte Questions 34-37.
For Denied/Canceiled Transactions, the Person Who Completed Section B Must Complete Questions 34-36.

leertify that: (1) { have read and understund the Notices, Instructions, and Definitions on this ATF Form 4473; (2) the information recorded in Sections B and DS
true, correct, and complete; und (3) this entire transuctiun record bas been completed at my licensed business premises (“licensed premises” Includes business
temporarily conducted from a qualifying gun show or event in the same State in which the Geensed premises is locited) unless this transaction has met the
requirements of 18 U.S.C. 922(c). Untess this transaction has heen denied or cancelled, | further certify on Ube basis of —(1) the transferce'sbuyer's responses in
Section A (and Section C, if applicable); (2) my verification of the identification recarded in question 18 (and nry re-verilication at the time of transfer, if Section C
was completed); and (3) State or focal law applicable to the firearras business — i is my belief that itis oot wolawful for me to sell, deliver, transport, or othorwise

dispose of the firearnys) listed on this form to the person identified in Section A.

 

36. Transferor’s/Seller’s Title io Date Transferred
TEAM MEMBER

 

 

34. Traneferor’s/Seller’s Name (Please pring|35. feror'sfSeller's Signature
REYES NINO "WA aa | lo\% \ V

 
 
 
 

x Ani alle ory, AND DEFINI Ky
MAM AV Me ulion and certificat) form are
designed sa that a person licensed under 18 U.S.C, 9 y Uatermine if ha/she
may lowiully sell or deliver a firearm ta the person identified in Section A, and
to alert (be transferee/buyer of certain restrictions on the receipt and possesion
of firearms. The transferor/seller of a firearm must determine the lawfulness of
the trangaetion and maintain proper records of the transaciion. Consequently, the
transferor’geller must be familiar with the provisions of 18 U.S.C, 921-931 and
the regulations in 2? CFR Paris 478 and 479. In detennining the lawfuinces of
the sale or delivery of'a tifle or shotgun to 0 resident of another Siste, the
transferor/seller is prestrmed to know the applicable State laws and published
ofdinances in both the transferor's/seller’s Stale and the transfcree's/buyer’s
Stale, See ATF Publication 5300.5, State Laws and Published Ordinuncey,)

Generally, ATF Form 4473 must be completed at the licensed business premises
when o Greonn is transferred vver-the-counler, Federal law, 18 U,5.C, 922{¢),
allows a licensed importer, manufecturcr, or dealcr to scil a firearm to o nunli-
censce who docs not appear in person at the licensee's business premises only
if the trunyferee/buyer mecls certuin requirements, These requirements are set
forth in section 922(¢), 27 CFR 478.95(b), and ATF Procedure 2013-2,

After the transieror’seller has completed the firearms qenyaction, he/she must
tnake the completed, original ATF Form 4473 fiwhich includes the Notices, Gan-
eral Instructiony, and Definitions), ond any supporing documents, part of his/her
permanent records. Such Forms 4473 must be retained for at Icast 20 years and
after that period may be submilted to ATF. Piling may ba chronological (by dare
of disposition), alphabeticel (oy name of purchaser), or numerical (by fransac-
on terlal number), 03 long a3 all of the transferor’s/scller’s completed Forms
4473 are filed in the same manner.

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DODOIG

FORMS 4473 FOR DENIED/CANCELLED TRANSFERS MUST BE RETAINED:
If the transfer pfs fireunn is denicd/cancelled by NICS, or if for any other reason
the aneferi( ONG PepE ra NICS check is initited, the licensee must retain
the ATF Form 4473 in bis‘her records for at Jeast 5 years. Forms 4473 with respect
to which a saic, delivery, or transfer did not take place sbull be separately reinined

in alphabetical (fy name of transferee) or chronological (by date of transferees
vertificetion} order.

If the trensferos/seller or the transferee/buyer discovers thot en ATF Foon 4473 15
incomplete or improperly completed after the firearm has besa wansferred, and the
transferor/seller or the transferee/buyer wishes to correct the emission(s) or
error(s), photocopy whe inaccurate form and make any necessary additions or
revisions to the photusopy. The transferur/seller should only make changes to
Sections B anc D, The transferec/buyer should only make changes to Section A and
C, Whoever made the changes choutd inilial and date the changes, The corrected
photocepy should be attached to the original Form 4473 und retained ax part of the
transferar's/seller's permanent recards,

Exportation of Firearms; The Siate or Commerce Deparmenis may require a
firearms exporter ty vbtain a license prins to expocl, Warning: Any person who ex-
ports o fircarm without proper authorization may be fined not more chan $1,000,000
ancVor tinprisoned for not more than 20 years. Seo 22 U.S.C. 2778(c).

Sectiun A

The transfereebuver must personally complete Section A of this form and certify
(sign) thol tho answers are tuc, correct, ard complete. However, if the transferec/
buyer is unable to read and/or write, the unswers (other than tne signature) may be
completed by another person, cxcluding the transftror/seller, Two persons (offer
than the transferor/seller) must then sign as witnesses to the transferee's’buyer's
answers and signature/certification in question 14,

ATF Form 4473 (5300.9)
Revised October 2015

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